      Case 5:19-cv-01303-PD Document 33 Filed 10/20/20 Page 1 of 2 Page ID #:880


 1   NICOLA T. HANNA
     United States Attorney
 2   DAVID M. HARRIS
 3   Assistant United States Attorney                                           JS-6
     Chief, Civil Division
 4
     CEDINA M. KIM
 5   Assistant United States Attorney
 6   Senior Trial Attorney, Civil Division
     PAUL SACHELARI, CSBN 230082
 7   Special Assistant United States Attorney
 8         Social Security Administration
           160 Spear St., Suite 800
 9         San Francisco, CA 94105
10         Telephone: (415) 977-8933
           Facsimile: (415) 744-0134
11
           Email: paul.sachelari@ssa.gov
12   Attorneys for Defendant
13                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
14
                                     EASTERN DIVISION
15
     FRANCISCA ROMERO DE LOPEZ,               ) No. 5:19-cv-01303-PD
16                                            )
           Plaintiff,                         )
17                                            ) JUDGMENT OF REMAND
                  v.                          )
18                                            )
                                              )
19   ANDREW SAUL,                             )
                                              )
20   Commissioner of Social Security,         )
                                              )
21         Defendant.                         )
22
           The Court having approved the parties’ Stipulation to Voluntary Remand
23
24   Pursuant to Sentence 4 of 42 U.S.C. § 405(g) and to Entry of Judgment (“Stipulation

25   of Remand”) lodged concurrent with the lodging of the within Judgment of Remand.
26         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the above-
27   captioned action is remanded to the Commissioner of Social Security for further
28   ///
     ///
      Case 5:19-cv-01303-PD Document 33 Filed 10/20/20 Page 2 of 2 Page ID #:881


 1   proceedings consistent with the Stipulation of Remand.
 2
     DATED: October 21, 2020
 3                                        HON. PATRICIA DONAHUE
 4                                        UNITED STATES MAGISTRATE JUDGE
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
